Case 21-11213        Doc 11      Filed 09/08/21       Entered 09/08/21 15:53:14            Desc       Page 1
                                                    of 5


                           MASSACHUSETTS DEPARTMENT OF REVENUE
                           COLLECTIONS BUREAU - BANKRUPTCY UNIT

                             100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Geoffrey E. Snyder
                           Mailing Address: PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                 Phone: (617) 626-3875   Fax: (617) 626-3796

JACQUELINE O SAMPAIO                                              Date: 09/08/2021
88 BITTERSWEET RD                                                 Chapter 13
EAST FALMOUTH, MA 02536                                           Case Number: 21-11213 FJB
                                                                  SSN: ***-**-9452
                                                                  341 Hearing Date: September 21, 2021


   Please find attached a Massachusetts Department of Revenue (MDOR) Notice of Failure to File
Tax Return(s) (NFF). A representative from the MDOR may be attending the meeting of creditors (341
hearing) which has been scheduled in your case for September 21, 2021 at 10:00 a.m. In preparation for
your meeting, please review the attached NFF and prepare a response that may be given to the MDOR
representative. It is our wish that any issues regarding delinquent tax returns be resolved at the 341
hearing. Failure to do so will result in the MDOR filing a proof of claim containing estimated
assessments for the delinquent periods.

   Your response may be to either file the delinquent returns at the time of hearing. Or, if you believe
you have filed or paid the return(s) provide signed copies of the returns and any cancelled checks that
may apply (please include W-2's for any withholding claimed). Or, if you believe you were not
required to file returns for the delinquent periods, please provide a written statement (affidavit), signed
under the penalty of perjury providing the reason you were not required to file.

   If a MDOR representative does not attend your 341 hearing, please forward your information or
questions to the undersigned or you may contact Isabel Jean, Director at (617) 626-3820.

                   IF YOU HAVE NOT FILED THESE TAX RETURNS
You must send completed tax returns for these tax periods within 30 days to the mailing address at
                                     the top of this notice.

          DO NOT SEND COMPLETED TAX RETURNS TO ANY OTHER ADDRESS!
       Do not send completed tax returns to any address shown on MDOR tax returns, forms,
   instructions, or pre-printed envelopes while you are in bankruptcy. This can cause processing
   errors, and may cause MDOR to issue notices which should not be sent to you while you are in
 bankruptcy. Do not send any payment with your completed tax returns. Any tax amounts you owe
     must be paid under your bankruptcy. To obtain tax forms, visit mass.gov/dor/forms or call
                                           (617) 887-6367.

                         IF YOU HAVE FILED THESE TAX RETURNS
 Send clear copies of the tax returns which you filed, copies of the front and back of any canceled
 check or money order used to pay the tax and any applicable W-2's, schedules, etc. to the mailing
                                  address at the top of this notice.
Case 21-11213     Doc 11     Filed 09/08/21     Entered 09/08/21 15:53:14       Desc      Page 2
                                              of 5


      IF YOU BELIEVE YOU WERE NOT REQUIRED TO FILE THESE TAX RETURNS
Send a written statement signed under penalty of perjury explaining why you were not required to
  file these tax returns, along with any documentation you believe supports your position, to the
                               mailing address at the top of this notice.




                                     GEOFFREY E. SNYDER
                                     COMMISSIONER
                                     MASSACHUSETTS DEPARTMENT OF REVENUE


                                     By his duly authorized agent,




                                     /s/ Shauna Carballeira
                                     MASSACHUSETTS DEPARTMENT OF REVENUE
                                     BANKRUPTCY UNIT - COLLECTIONS BUREAU
                                     100 CAMBRIDGE STREET, PO BOX 9564
                                     BOSTON, MA 02114-9564
                                     (617) 626-3875
Case 21-11213        Doc 11       Filed 09/08/21       Entered 09/08/21 15:53:14            Desc      Page 3
                                                     of 5


                            MASSACHUSETTS DEPARTMENT OF REVENUE
                            COLLECTIONS BUREAU - BANKRUPTCY UNIT

                             100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Geoffrey E. Snyder
                           Mailing Address: PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                 Phone: (617) 626-3875   Fax: (617) 626-3796

JACQUELINE O SAMPAIO                                              Date: 09/08/2021
88 BITTERSWEET RD                                                 Chapter 13
EAST FALMOUTH, MA 02536                                           Case Number: 21-11213 FJB
                                                                  SSN: ***-**-9452


             NOTICE BY COMMISSIONER OF MASSACHUSETTS DEPARTMENT
               OF REVENUE OF UNFILED PREPETITION TAX RETURNS AND
                             REQUEST FOR THE SAME


  PLEASE BE ADVISED that the records of the Massachusetts Department of Revenue (“MDOR”)
indicate that you have not filed certain tax returns that you appear to be required to file. The
accompanying schedule lists what these presently appear to be. MDOR hereby demands that you file all
Massachusetts tax returns that you have been required to file but have not filed, including those listed on
the schedule.

   PLEASE TAKE NOTE that Section 1308(a) of the Bankruptcy Code requires that no later than the
day before the first scheduled meeting of creditors in your Chapter 13 case you must have filed with the
appropriate taxing authorities all returns that were required to be filed for all taxable periods ending
during the four (4) year period ending on the filing of your petition. While under appropriate
circumstances the trustee or the court can extend that deadline, the failure(s) to file any of those returns
before the required or extended deadline are grounds under Section 1307(e) of the Bankruptcy Code for
dismissal or the conversion to Chapter 7 of your case. Under applicable law, the burden is upon you to
demonstrate that you were not legally required to file a return for each tax period, if that is your position.
However, if the return is one required by Section 1308(a) and the original or extended deadline has
passed without filing the return(s), even if the dispute is not resolved by then, then your case can still be
dismissed or converted to Chapter 7 if the court finds that you do not meet your burden.

  PLEASE ALSO BE ADVISED THAT unless we receive a tax return for each tax period of each tax
type as set forth in the schedule within thirty (30) days of this notice (whether the return is a required one
under Section 1308(a) or not), then in accordance with G.L. c. 62C, § 28, MDOR may determine the tax
due according to our best information and belief (Any such assessment(s) would be in addition to any
exercise or pursuit of such other rights and remedies).

   If you have an attorney representing you in this case, you may wish to consult your attorney on these
issues. If there are any further questions, your attorney or you may contact the Massachusetts Department
of Revenue Bankruptcy Unit at (617) 626-3875 or confer with the MDOR representative at your Section
341 meeting of creditors should one be in attendance.
Case 21-11213      Doc 11    Filed 09/08/21     Entered 09/08/21 15:53:14            Desc   Page 4
                                              of 5


    Account Type                         Filing Period               Filing Status
    Personal Income Tax                  12/31/2017
    Personal Income Tax                  12/31/2018
    Personal Income Tax                  12/31/2020


PLEASE TAKE FURTHER NOTICE that Geoffrey E. Snyder, as he is Commissioner of Revenue for
the Commonwealth of Massachusetts, by and through his undersigned agent, hereby makes demand upon
the Debtor to file forthwith the above-identified tax returns.




                                     GEOFFREY E. SNYDER
                                     COMMISSIONER
                                     MASSACHUSETTS DEPARTMENT OF REVENUE


                                     By his duly authorized agent,




                                     /s/ Shauna Carballeira
                                     MASSACHUSETTS DEPARTMENT OF REVENUE
                                     BANKRUPTCY UNIT - COLLECTIONS BUREAU
                                     100 CAMBRIDGE STREET, PO BOX 9564
                                     BOSTON, MA 02114-9564
                                     (617) 626-3875
Case 21-11213        Doc 11     Filed 09/08/21      Entered 09/08/21 15:53:14          Desc        Page 5
                                                  of 5


                          MASSACHUSETTS DEPARTMENT OF REVENUE
                          COLLECTIONS BUREAU - BANKRUPTCY UNIT

                             100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Geoffrey E. Snyder
                                  PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                Phone: (617) 626-3875 Fax: (617) 626-3796



In re: JACQUELINE O SAMPAIO                                           Chapter 13
                                                                      Case Number: 21-11213 FJB




                                        CERTIFICATE OF SERVICE


      I, Shauna Carballeira, hereby certify that I have caused the attached Commissioner of the

Massachusetts Department of Revenue's Notice of Unfiled Prepetition Tax Returns and Request For The

Same Pursuant To 11 U.S.C. Section 1308, to be served by first class mail, postage prepaid, upon

parties or persons appearing on the accompanying SERVICE LIST attached hereto who were not listed

as being served electronically upon.




                                         CYNTHIA RAVOSA
                                         1 SOUTH AVENUE
                                         NATICK, MA 01760-0000



                                         Chapter 13 Trustee
                                         PO BOX 8250
                                         BOSTON, MA 02114



                                         /s/ Shauna Carballeira
                                         MASSACHUSETTS DEPARTMENT OF REVENUE
                                         09/08/2021
